
PER CURIAM.
11 Writ granted in part. The trial court is ordered to appoint counsel and conduct an evidentiary hearing to determine whether relator pled guilty involuntarily as a result of his misunderstanding of his eligibility for release on parole. See La. C.Cr.P. art. 930(A); La.C.Cr.P. art. 930.7(C); State ex rel. LaFleur v. Donnelly, 416 So.2d 82 (La.1982); see also R.S. 15:574.4(B); R.S. 15:574.4(D). ■
WEIMER, J., dissents and would deny the writ.
CLARK, J., dissents and would deny the writ.
HUGHES, J., dissent^ and would deny.
